Case 3:17-cv-00072-NKM-JCH Document 235 Filed 02/26/18 Page 1 of 1 Pageid#: 1468
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                             UN ITED STATES DISTRICT CO UR T                     J       G     DLEK CLERK
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                        FO R TH E W ESTERN D ISTRICT OF W RG INIA                                LR
                                    Charlottesville D ivision


   ELIZABETH SIN ES,eta1.

          Plaintils,
                                                   CIV IL A CTION

                                                   FILE N O .:17-cv-00072-NKM
   JA SON KESSLER,etal.

          Defendants.


                               M OTION TO QUASH SUBPOENA

          COM ES NOW non-partyDavid Duke,pursuanttoRule45(d)(3)(A)(iv)oftheFederal
   RulesofCivilProcedure,andfilesthishisMotiontoQuashandBriefinSupportthereof.Movant
   seeksto quash the subpoena served upon him on the ground thatthe attached D ocum entRequests

   arelargely too vagueto beenforced,areoverbroad,unduly burdensom e and irrelevant;production

   ofthedocumentssoughtwouldbeextremely difficultifnotimpossibleandwould subjectMr.
   Duke to tmdue burden and expense,and the tim e for com pliance required by the subpoena is

   insuftk ientto allow forcom pliance.
          This23rdday ofFebruary, 2018.

                                                   Respectfully subm itted,




                                                    avid Duke
                                                   Pro Se
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